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        EXHIBIT D
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    Registration Record Tx0009335645

    Axe Dev Tools V3.7.0.

    Registration Number / Date:
    TX0009335645 / 2023-11-30
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v3.7.0.
    Application Title:
    Date Of Creation:
    2018
    Date Of Publication:
    2019-01-03
    Latest Transaction Date And Time:
    2023-12-01T03:17:44
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35844270
    System Control Number:
    Originating System Control Number:
    TX 009335645
    Description:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
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    Registration Record Tx0009335914

    Axe Dev Tools V3.8.0.

    Registration Number / Date:
    TX0009335914 / 2023-11-30
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v3.8.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2019-03-22
    Latest Transaction Date And Time:
    2023-12-02T03:15:27
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35846573
    System Control Number:
    Originating System Control Number:
    TX 009335914
    Description:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
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    Registration Record Tx0009340330

    Axe Dev Tools V3.9.0.

    Registration Number / Date:
    TX0009340330 / 2023-12-06
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v3.9.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2019-08-08
    Latest Transaction Date And Time:
    2023-12-18T08:50:33
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35876682
    System Control Number:
    Originating System Control Number:
    TX 009340330
    Description:
    Copyright Note:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
Case 1:24-cv-00217-AJT-WEF Document 1-5 Filed 02/13/24 Page 5 of 18 PageID# 60



    Registration Record Tx0009340341

    Axe Dev Tools V3.10.0.

    Registration Number / Date:
    TX0009340341 / 2023-12-06
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v3.10.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2019-09-25
    Latest Transaction Date And Time:
    2023-12-18T08:50:32
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35876681
    System Control Number:
    Originating System Control Number:
    TX 009340341
    Description:
    Copyright Note:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
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Copyright.gov


    Registration Record Tx0009335692

    Axe Dev Tools V4.0.0.

    Registration Number / Date:
    TX0009335692 / 2023-11-30
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v4.0.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2019-09-30
    Latest Transaction Date And Time:
    2023-12-01T03:17:44
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35844269
    System Control Number:
    Originating System Control Number:
    TX 009335692
    Description:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
Case 1:24-cv-00217-AJT-WEF Document 1-5 Filed 02/13/24 Page 7 of 18 PageID# 62



    Registration Record Tx0009336616

    Axe Dev Tools V4.1.0.

    Registration Number / Date:
    TX0009336616 / 2023-11-30
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v4.1.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2019-10-21
    Latest Transaction Date And Time:
    2023-12-05T03:17:39
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35857008
    System Control Number:
    Originating System Control Number:
    TX 009336616
    Description:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
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    Registration Record Tx0009336019

    Axe Dev Tools V4.2.0.

    Registration Number / Date:
    TX0009336019 / 2023-11-30
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v4.2.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2019-11-19
    Latest Transaction Date And Time:
    2023-12-02T03:15:24
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35846567
    System Control Number:
    Originating System Control Number:
    TX 009336019
    Description:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
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    Registration Record Tx0009338465

    Axe Dev Tools V4.3.0.

    Registration Number / Date:
    TX0009338465 / 2023-12-06
    Registration Class:
    TX
    Type Of Work:
    Computer Files
    Title:
    axe Dev Tools v4.3.0.
    Application Title:
    Date Of Creation:
    2019
    Date Of Publication:
    2020-01-20
    Latest Transaction Date And Time:
    2023-12-09T03:13:42
    Copyright Claimant:
    Authorship On Application:
    Basis Of Claim:
    computer program.
    Pre-Existing Material:
    computer program.
    Record Id:
    35867519
    System Control Number:
    Originating System Control Number:
    TX 009338465
    Description:
    Copyright Note:
    Nation Of First Publication:
    United States
    Names:
    Value            Url
    Value            Url
    Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
    Inc.             records
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     Registration Record Tx0009336533

     Axe Dev Tools V4.4.0.

     Registration Number / Date:
     TX0009336533 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.4.0.
     Application Title:
     Date Of Creation:
     2020
     Date Of Publication:
     2020-02-28
     Latest Transaction Date And Time:
     2023-12-05T03:17:37
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35857005
     System Control Number:
     Originating System Control Number:
     TX 009336533
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009337562

     Axe Dev Tools V4.5.0.

     Registration Number / Date:
     TX0009337562 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.5.0.
     Application Title:
     Date Of Creation:
     2020
     Date Of Publication:
     2020-04-20
     Latest Transaction Date And Time:
     2023-12-07T03:17:11
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     jpg image code, computer program.
     Record Id:
     35861608
     System Control Number:
     Originating System Control Number:
     TX 009337562
     Description:
     Copyright Note:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009336758

     Axe Dev Tools V4.6.0.

     Registration Number / Date:
     TX0009336758 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.6.0.
     Application Title:
     Date Of Creation:
     2020
     Date Of Publication:
     2020-09-15
     Latest Transaction Date And Time:
     2023-12-05T03:17:37
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35857004
     System Control Number:
     Originating System Control Number:
     TX 009336758
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009336764

     Axe Dev Tools V4.6.2.

     Registration Number / Date:
     TX0009336764 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.6.2.
     Application Title:
     Date Of Creation:
     2020
     Date Of Publication:
     2020-11-24
     Latest Transaction Date And Time:
     2023-12-05T03:17:36
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35857003
     System Control Number:
     Originating System Control Number:
     TX 009336764
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009336762

     Axe Dev Tools V4.7.0.

     Registration Number / Date:
     TX0009336762 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.7.0.
     Application Title:
     Date Of Creation:
     2020
     Date Of Publication:
     2021-01-06
     Latest Transaction Date And Time:
     2023-12-05T03:17:36
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35857002
     System Control Number:
     Originating System Control Number:
     TX 009336762
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009336375

     Axe Dev Tools V4.8.0.

     Registration Number / Date:
     TX0009336375 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.8.0.
     Application Title:
     Date Of Creation:
     2021
     Date Of Publication:
     2021-02-12
     Latest Transaction Date And Time:
     2023-12-05T03:17:35
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35857001
     System Control Number:
     Originating System Control Number:
     TX 009336375
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009336379

     Axe Dev Tools V4.8.5.

     Registration Number / Date:
     TX0009336379 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.8.5.
     Application Title:
     Date Of Creation:
     2021
     Date Of Publication:
     2021-03-03
     Latest Transaction Date And Time:
     2023-12-05T03:17:35
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35857000
     System Control Number:
     Originating System Control Number:
     TX 009336379
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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     Registration Record Tx0009336480

     Axe Dev Tools V4.9.0.

     Registration Number / Date:
     TX0009336480 / 2023-12-01
     Registration Class:
     TX
     Type Of Work:
     Computer Files
     Title:
     axe Dev Tools v4.9.0.
     Application Title:
     Date Of Creation:
     2021
     Date Of Publication:
     2021-04-22
     Latest Transaction Date And Time:
     2023-12-05T03:17:26
     Copyright Claimant:
     Authorship On Application:
     Basis Of Claim:
     computer program.
     Pre-Existing Material:
     computer program.
     Record Id:
     35856983
     System Control Number:
     Originating System Control Number:
     TX 009336480
     Description:
     Nation Of First Publication:
     United States
     Names:
     Value            Url
     Value            Url
     Deque Systems,   /name-directory/Deque%20Systems%2C%20Inc./associated-
     Inc.             records
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